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              Attorneys for Defendant,
        11    My Pillow, Inc.
        12
                                              UNITED STATES DISTRICT COURT
        13
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
        14
              RICHARD WUEST, individually and on behalf of a     CASE NO.: 3:18-CV-03658-WHA
        15    class of similarly situated individuals,
                                                                 CLASS ACTION
        16
        17                      Plaintiffs,                      Judge: Hon. William Alsup

        18           v.                                          DECLARATION OF PETER J FARNESE
                                                                 IN SUPPORT OF DEFENDANT MY
        19    MY PILLOW, INC. and Does 1-50, inclusive           PILLOW INC.’S OPPOSITION TO
                                                                 MOTION FOR CLASS CERTIFICATION
        20                      Defendants.
                                                                 Date:         July 11, 2019
        21
                                                                 Time:         8:00 a.m.
        22                                                       Crtrm:        12 – 19th Floor

        23
                                                                 Removed:      June 19, 2018
        24                                                       Trial Date:   March 30, 2020
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BESHADA
                                                                                    CASE NO. 3:18-CV-03658-WHA
FARNESE LLP                                    DECLARATION OF PETER J. FARNESE
          1                               DECLARATION OF PETER J. FARNESE

          2 I, Peter J. Farnese, declare and state as follows:
          3           1.    I am a member of the Bar of the State of California and am Partner at the law firm Beshada

          4 Farnese LLP, co-counsel of record for Defendant My Pillow, Inc. (“Defendant” and “My Pillow”) in this
          5 matter. I have personal knowledge of all of the facts stated herein, and if called to testify as a witness, I
          6 could and would competently testify to them.
          7           2.    I submit this declaration in support of Defendant’s opposition to Plaintiff Richard Wuest’s

          8 (“Plaintiff” or “Wuest”) Motion for Class Certification.

          9           3.    Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the certified

         10 transcript of the deposition of Plaintiff Richard Wuest on March 27, 2019.
         11           4.    Attached hereto as Exhibit 3 is a true and correct copy of a document produced by

         12 Plaintiff Bates numbered WUEST00009 and marked as Exhibit 3 at the deposition of Plaintiff Richard
         13 Wuest on March 27, 2019.
         14           5.    Attached hereto as Exhibit 4 is a true and correct copy of a document produced by

         15 Plaintiff Bates numbered WUEST00009 and marked as Exhibit 3 at the deposition of Plaintiff Richard
         16 Wuest on March 27, 2019.
         17           6.    Attached hereto as Exhibit 5 is a true and correct copy of a Plaintiff’s retainer agreement

         18 in this action produced by Plaintiff and Bates numbered WUEST000010 - 00018 and marked as Exhibit
         19 1 at the deposition of Plaintiff Richard Wuest on March 27, 2019.
         20           7.    Attached hereto as Exhibit 6 is a true and correct copy of a portions of Plaintiff’s Initial

         21 Disclosures dated October 18, 2018, including his cellular phone records Bates numbered as
         22 WUEST000005 – 00008.
         23           8.    Attached hereto as Exhibit 6 is a true and correct copy of the certified transcript prepared

         24 by a court reporter of the recording produced in discovery by Defendant in this action of Plaintiff’s third
         25 call to My Pillow at 800-544-8939 on January 22, 2018.
         26           9.    Attached hereto as Exhibit 7 is a true and correct copy of the certified transcript prepared

         27 by a court reporter of the recording produced in discovery by Defendant in this action of Plaintiff’s call

         28 to My Pillow’s customer service number 800-308-1299 on February 8, 2018.
                                                            -1-                             CASE NO. 3:18-CV-03658-WHA
BESHADA
FARNESE LLP                                    DECLARATION OF PETER J. FARNESE
          1          10.    Attached hereto as Exhibit 8 is a true and correct copy of the certified transcript prepared

          2 by a court reporter of the recording produced in discovery by Defendant in this action of Plaintiff’s call
          3 to My Pillow’s customer service number 800-308-1299 on February 9, 2018.
          4          11.    Attached hereto as Exhibit 9 is a true and correct copy of a is a true and correct copy of

          5 My Pillows Answers to Plaintiff’s Special Interrogatories, Set One.
          6          12.    Attached hereto as Exhibit 10 is a true and correct copy of a is a true and correct copy of

          7 My Pillow’s Supplemental Answers to Plaintiff’s Special Interrogatories, Set One.
          8          13.    Attached hereto as Exhibit 11 is a true and correct copy of a Plaintiff’s Responses to My

          9 Pillow’s Special Interrogatories, Set One.
         10          14.    Attached hereto as Exhibit 12 is a true and correct copy of a excerpts from the certified

         11 transcript of the Deposition of Michael Larson that took place on February 25, 2019.
         12          15.    Attached hereto as Exhibit 13 is a true and correct copy of the complaint in the action

         13 styled Wuest v. Clearwire Corporation, et al. (Case No. 3:12-cv-05061-JD)(N.D. Cal.).
         14          16.    Attached hereto as Exhibit 14 is a true and correct copy of the dismissal in the action

         15 styled Wuest v. Clearwire Corporation, et al. (Case No. 3:12-cv-05061-JD)(N.D. Cal.).
         16          17.    Attached hereto as Exhibit 15 is a true and correct copy of the complaint in the action

         17 styled Wuest v. BP Venture Management, Inc. (Case No. 13-cv-01668-TLN-CKD)(E.D. Cal.).
         18          18.    Attached hereto as Exhibit 16 is a true and correct copy of the dismissal in the action

         19 styled Wuest v. BP Venture Management, Inc. (Case No. 13-cv-01668-TLN-CKD)(E.D. Cal.).
         20          19.    Attached hereto as Exhibit 17 is a true and correct copy of the complaint in the action

         21 styled Wuest v. Complete Recovery Corporation (Case No. 17-cv-01674-JD) (N.D. Cal.).
         22          20.    Attached hereto as Exhibit 18 is a true and correct copy of the dismissal in the action

         23 styled Wuest v. Complete Recovery Corporation (Case No. 17-cv-01674-JD) (N.D. Cal.).
         24          21.    Attached hereto as Exhibit 19 is a true and correct copy of the complaint in the action

         25 styled Wuest v. Comcast (Case No. 17-cv-04063-JSW) (N.D. Cal.).
         26          22.    Attached hereto as Exhibit 20 is a true and correct copy of the dismissal in the action

         27 styled Wuest v. Comcast (Case No. 17-cv-04063-JSW) (N.D. Cal.).

         28          23.    Attached hereto as Exhibit 21 is a true and correct copy of the complaint in the action
                                                           -2-                             CASE NO. 3:18-CV-03658-WHA
BESHADA
FARNESE LLP                                   DECLARATION OF PETER J. FARNESE
          1 styled Wuest v. Pepsico, Inc. (Case No. CGC-17-560169) (Cal. Super Ct.)
          2          24.   Attached hereto as Exhibit 22 is a true and correct copy of the dismissal in the action

          3 styled Wuest v. Pepsico, Inc. (Case No. CGC-17-560169) (Cal. Super Ct.)
          4          25.   Attached hereto as Exhibit 23 is a true and correct copy of the complaint in the action

          5 styled Wuest v. Guitar Center, Inc. (Case No. 34-2017-00216853)(Cal. Super Ct.).
          6          26.   Attached hereto as Exhibit 24 is a true and correct copy of the dismissal in the action

          7 styled Wuest v. Guitar Center, Inc. (Case No. 34-2017-00216853)(Cal. Super Ct.).
          8          27.   Attached hereto as Exhibit 25 is a true and correct copy of the complaint in the action

          9 styled Wuest v. Purity Products International, Inc. (Case No. 17-cv-06093-SI)(N.D. Cal.).
         10          28.   Attached hereto as Exhibit 26 is a true and correct copy of the dismissal in the action

         11 styled Wuest v. Purity Products International, Inc. (Case No. 17-cv-06093-SI)(N.D. Cal.).
         12          29.   Attached hereto as Exhibit 27 is a true and correct copy of the complaint in the action

         13 styled Wuest v. Purity Products International, Inc. (Case No. 17-cv-06093-SI)(N.D. Cal.).
         14          30.   Attached hereto as Exhibit 28 is a true and correct copy of the dismissal in the action

         15 styled Wuest v. Purity Products International, Inc. (Case No. 17-cv-06093-SI)(N.D. Cal.).
         16          31.   Attached hereto as Exhibit 29 is a true and correct copy of the complaint in the action

         17 styled Wuest v. Asseenontvstore.com, et al. (Case No. RG18903495)(Cal. Super Ct.).
         18          32.   Attached hereto as Exhibit 30 is a true and correct copy of the dismissal in the action

         19 styled Wuest v. Asseenontvstore.com, et al. (Case No. RG18903495)(Cal. Super Ct.).
         20          33.   Attached hereto as Exhibit 29 is a true and correct copy of the complaint in the action

         21 styled Wuest v. Augusta Precious Metals (Case No. 34-2018-00233802)(Cal. Super Ct.).
         22          34.   Attached hereto as Exhibit 30 is a true and correct copy of the dismissal in the action

         23 styled Wuest v. Augusta Precious Metals (Case No. 34-2018-00233802)(Cal. Super Ct.).
         24          35.   Attached hereto as Exhibit 31 is a true and correct copy of the complaint in the action

         25 styled Wuest v. NIU of Florida, Inc. (Case No. 18-cv-01587-TLN-AC)(E.D. Cal.).
         26          36.   Attached hereto as Exhibit 32 is a true and correct copy of the dismissal in the action

         27 styled Wuest v. NIU of Florida, Inc. (Case No. 18-cv-01587-TLN-AC)(E.D. Cal.).

         28          37.   Attached hereto as Exhibit 33 is a true and correct copy of the complaint in the action
                                                         -3-                           CASE NO. 3:18-CV-03658-WHA
BESHADA
FARNESE LLP                                 DECLARATION OF PETER J. FARNESE
          1 styled Wuest v. Icon Health & Fitness, Inc. (Case No. RG18901957)(Cal. Super Ct.).
          2          38.    Attached hereto as Exhibit 34 is a true and correct copy of the March 1, 1967, Press

          3 Release from Jesse Unruh, Speaker of the California Assembly and author of Assembly Bill 860.
          4          39.    Attached hereto as Exhibit 35 is a true and correct copy of the Digest of Senate

          5 Amendments to Senate Bill No. 860.
          6          40.    Attached hereto as Exhibit 36 is a true and correct copy of the June 30, 1967 Letter from

          7 Jesse Unruh, Assemblyman and author of A.B. 860, to San Francisco Examiner.
          8          41.    Attached hereto as Exhibit 37 is a true and correct copy of the July 31, 1967 Letter from

          9 Jesse Unruh, Assemblyman and author of A.B. 860, to Hon. Ronald Regan, Governor of California.
         10          42.    Attached hereto as Exhibit 38 is a true and correct copy of the August 23,1991 Letter

         11 from Michael S. Sands to Hon. Phil Isenberg and Hon. Lloyd Connelly.
         12          43.    Attached hereto as Exhibit 39 is a true and correct copy of the Assembly Bill 2465:

         13 Author's Statement of Intent.
         14          44.    Attached hereto as Exhibit 40 is a true and correct copy of the declaration of Monica D.

         15 Scott which attaches as Exhibit B excerpts of the deposition of Randall A. Snyder in the matter styled
         16 McCabe, et al. v. Six Continents Hotels, Inc. (Case No. 3:12-cv-04818-NC). I downloaded the document
         17 from PACER.
         18          45.    Attached hereto as Exhibit 41 is a true and correct copy of the declaration of Nancy L.

         19 Stagg which attaches as Exhibit B excerpts of the deposition of Anya Verkhovskaya in the matter styled
         20 Roberts, et al. v. Wyndham International, Inc., et al. (Case No. 3:12-cv-05083-LB). I downloaded the
         21 document from PACER.
         22
         23          I declare under penalty of perjury under the laws of the United States of America that the foregoing

         24 is true and correct and that this declaration was executed on May 31, 2019 at Los Angeles, California.
         25
                                                                               /s/Peter J. Farnese
         26                                                                Peter J. Farnese
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         28
                                                            -4-                             CASE NO. 3:18-CV-03658-WHA
BESHADA
FARNESE LLP                                    DECLARATION OF PETER J. FARNESE
          1                                    CERTIFICATE OF SERVICE

          2         I hereby certify the on May 31, 2019, I electronically filed the foregoing document using the

          3 CM/ECF system which will send notification of such filing to the email addresses registered in the
          4 CM/ECF system.
          5
          6                                                        /s/Peter J. Farnese
                                                                       Peter J. Farnese
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BESHADA
                                                                                          CASE NO. 3:18-CV-03658-EDL
FARNESE LLP                                      CERTIFICATE OF SERVICE
